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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      25-20013-cr-ALTMAN/LETT

  UNITED STATES OF AMERICA
                         Plaintiff,
  v.
  ARTEM OLEGOVICH ALAFYEV
                         Defendant.
  _____________________________/.


                                CERTIFICATION OF ROBERT BOND
         Robert Bond, Esquire, Esquire, pursuant to Rule 4(b)(1) of the Rules Governing the
  Admission, Practice, Peer Review, and Discipline of Attorneys, hereby certifies that: (1) I have
  studied the Local Rules of the United States District Court for the Southern District of Florida; (2)
  I am a member in good standing of Commonwealth of Pennsylvania & District Court; and (3) I
  have not filed more than three pro hac vice motions in different cases in this District within the last
  365 days.


                                                                  /s/ Robert Bond
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